CASE 0:22-cv-00803-WMW-ECW Doc. 1-2 Filed 04/04/22 Page 1 of 13

EXHIBIT B

COMPLAINT TO TRANS UNION, LLC
CASE 0:22-cv-00803-WMW-ECW  Doc.1-2- Filed 04/04/22 Page 2of13

STATE OF MINNESOTA DISTRICT COURT
County of Hennepin Judicial District: Fourth
Case Type: ~ Civil Other/ Misc.
Kendra Gariepy,
Plainuff,
.

Trans Union LLC, Equifax Information COMPLAINT
Services, LLC, Caine & Weiner Resource

Management, LLC,

Defendants.

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Plaintiff, by and through her attorney, for her complaint against Defendants upon
personal knowledge as to her own facts and conduct and on information and belief as to all
other matters, states and alleges as follows:

. INTRODUCTION

1. The following case highlights a broken collection system that leaves
consumers with little to no power to combat blatantly false debts that cripple them from
utilizing the credit system. In an effort to collect an invalid debt, Defendant Caine & Weiner
Resource Management, LLC furnished false information to the major credit reporting
agencies resulting in significant damage to Plaintiff's credit rating and has therefore

intentionally harmed her ability to participate in the credit markets. Even after Plaintiff

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW  Doc.1-2_ Filed 04/04/22 Page 3 of 13

overcame the procedural hurdle of disputing this information with the CRAs!, the CRAs
incredibly ignored her requests entirely and their obligations under federal law.

As a direct result of Defendants’ actions, Plaintiff's credit score has been decimated
making it impossible for her to utilize any aspect of the credit system. Specifically, this has
affected her ability to obtain an auto loan and obtain adequate housing. To say defendants
have meddled im every aspect of Plaintiff's life is an understatement.

Worst yet, Defendants have repeatedly re-aged the false debt in an effort to
circumvent Fair Credit Reporting Act protections against obsolete information (information
older than 7 years) thereby assuring the debt will remain on Plaintiff's credit report
perpetually. This casted Plaintiff as a debtor presently owing money unable to meet her
obligation and therefore an unworthy borrower who should not be lent money. Indeed,
Plaintiff was dented credit on at least one occasion and fully expects to be denied in the
future limiting how he utilizes credit and interacts with potential lenders, insurers, and
service providers.

STATEMENT OF JURISDICTION AND VENUE
2. This Court has Jurisdiction over the subject matter of this action pursuant to Minn.
Stat. §484.01, the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692k(d) and

the presumption of concurrent state court jurisdiction.

| The FCRA renoved a consumer's ability to talte action for defamation under state law. This effectively allows for
CRAs to defame individuals with regard to allegations they have not paid debts. The law created procedural hurdles that
must be cleared (namely a pre-litigation dispute process) prior to initiating litigation.

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2 Filed 04/04/22 Page 4of13

3. This Court similarly has original subject-matter jurisdiction over this action pursuant
to 15 U.S.C. § 1681 et. seq, The Fair Credit Reporting Act ("FCRA"), which permits
consumers to file suit in the courts of their respective states.
4, Venue is proper pursuant to Minn. Stat. §542.09 because the cause of action arose
within the State of Minnesota and the County of Hennepin.

PARTIES
3. Plaintiff is an adult resident of Hennepin, Minnesota.
6. Defendant Caine & Weiner Resource Management, LLC is a foreign corporation and
a professional “debt collector” as defined by 15 U.S.C. §1692a(6) and a furnisher of negative
consumer data to major CRAs.
7. Caine & Weiner Resource Management, LLC is registered in Illinois with a service of
process address listed as 1010 Dale Street North, St. Paul, Minnesota.
8. Trans Union, LLC (Trans Union”) is a nationally recognized consumer reporting
agency (CRA) registered as a Limited Liability Company in the state of Delaware: Trans
Union has a service of process address listed as 2345 Rice Street, Suite 230, Roseville,
Minnesota.
9. Equifax Information Services, LLC (“Equifax”) is a nationally recognized agency
(CRA) registered in the State of Georgia with a service of process address listed as 2345 Rice
Street, Suite 230, Roseville, Minnesota.
10. Plaintiff is informed and believes, and thereon alleges, that at-all times relevant

Defendants all conducted business in the State of Minnesota and in the County of

Hennepin.

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW  Doc.1-2_ Filed 04/04/22 Page 5of13

FACTS
11. Plaintiff is an individual, and, therefore, at all times mentioned herein was a
“consumer” as defined by 15 U.S.C. §1692a(3) and § 1681a(c).
12, Defendant Caine & Weiner Resource Management, LLC is, and at all times
mentioned herein was, a professional “debt collector” as defined by 15 U.S.C. §1692a(6).
13. The Defendants Trans Union and Equifax (“the CRAs”) are consumer reporting
agencies (“CRAs”) as defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681a(£) because
the companies are in the business of assembling and analyzing consumer information before
selling consumer reports to third parties.
14, The CRAs prepared and issued consumer reports concerning Plaintiff that included
false and inaccurate information regarding the dates that the account was opened and last
active, which are dates that significantly impact the credit score. The last active date can
make a derogatory account appear more recent than is accurate, thereby re-aging the
account.
15. Plaintiff promptly disputed the alleged debt with the CRAs.
16. Specifically, Plaintiff sent all CRA Defendants such notices via certified mail on or
about January 6, 2022.
17. On information and belief, the CRAs transmitted Plaintiff's dispute to Caine &
Weiner Resource Management, LLC which was received by the same.
18. Plaintiff is in possession of copies of those letters verified as accurate and unchanged
by a third party, and Plaintiff is in possession of certified mail receipts proving the letters

were mailed and delivered.

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2_ Filed 04/04/22 Page 6of13

19. Trans Union and Equifax, failed to respond to Plaintiff dispute yet failed to delete the
information as required by law.

20. Various individuals seeking to lend to Plaintiff consulted Plaintiff's consumer reports
containing the false information at issue.

21. The direct result of the CRAs issuance of consumer reports to potential lenders
containing the false information at issue has caused significant damage to the perceived
reputation of Plaintiff and to her ability to borrow money, conduct commerce, and function
within modern society.

22. Specifically, the CRAs’ false reports have, to date, prevented Plaintiff from being
approved to rent an apartment or buy a car.

23. Asa direct result of the CRAs’ conduct, Plaintiff has suffered from increased stress,
anger, frustration, anxiety and, the loss of the ability to borrow money on favorable terms
and thereby loss of a means of improving her social and economic position.

24. Caine & Weiner Resource Management, LLC updated the account in question to
make the account appear more recent, thereby attempting to circumvent Fair Credit
Reporting Act (15 U.S.C. §1681c) protections against obsolete information (information
older than 7 years) thereby assuring the debt will remain on Plaintiffs credit report’
perpetually.

25. By attempting to collect a debt not authorized by law or contract, Defendant Caine &

Weiner Resource Management, LLC violated 15 U.S.C. § 1692e(2).

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2 Filed 04/04/22 Page 7 of 13

26. By furnishing false information about Plaintiff to various consumer reporting
agencies, Defendant Caine & Weiner Resource Management, LLC violated 15 U.S.C. §
1692e(8).

27. Despite the plainly false nature of the Alleged Debt, it remains on Plaintiffs credit
report.

28. The direct result of Defendants false reporting was significant damage to Plaintiffs
credit rating thereby making it impossible for Plaintiff to obtain favorable loans or any
reasonably priced credit cards.

29. As aresult of Defendant Caine & Weiner Resource Management, LLC’s conduct,
Plaintiff suffered from anger, frustration, anxiety, and humiliation and has been unfairly
excluded from the benefits of the credit system.

30. Similarly, as a further result of Defendants’ systematic failure to fulfill their statutory
duties as CRAs and furnishers, Plaintiff suffered personal financial loss and loss of standing
in the community.

31. Plaintiff was further harmed by incurring legal and professional fees in consulting
with various experts regarding the course of action for correcting the errors and in bringing
this suit.

APPLICABLE STATUTORY LAW

32. CRAs that sell consumer reports must comply with the FCRA. FCRA Section
607(b), 15 U.S.C. § 1681e(b), requires a CRA to establish and follow reasonable
procedures to assure the maximum possible accuracy of consumer repott

information, including assuring that only information pertaining to the consumer at
8

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2- Filed 04/04/22 Page 8 of 13

issue is contained in his or her report and that procedures exist to assure outdated

information is not contained on consumer reports.

33. Section 611 of the FCRA, 15 U.S.C. § 1681i, requires a CRA, upon notice of

disputed information, to conduct a reasonable reinvestigation to determine the

accuracy of formation disputed by a consumer who 1s the subject of a report.

34. The same section requires that notice of the reinvestigation to be promptly

provided to the furnisher of the credit information.

35. Furnishers of information to CRAs must also comply with certain aspects of the
Act. Section 623 of the FCRA, 15 U.S.C. § 1681s-2, addresses the duties of
persons who furnish information to the CRAs.

36. After receiving notice of a dispute with regard to the completeness or accuracy of
any information a furnisher must conduct a reasonable investigation with respect
to the disputed information, and is so doing the furnisher must:

a. review all relevant information provided by the consumer reporting
agency;

b. report the results of the investigation to the consumer reporting
agency,

c. and, inter ala, if an item of information disputed by a consumer is
found to be inaccurate or incomplete or cannot be verified after any
reinvestigation the furnisher must modify, or permanently block the

reporting of that item of information.

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2_ Filed 04/04/22 Page9of13

37. CRAs must also assure that outdated and obsolete information is removed
from reports. Section 605 of the FCRA, 15 U.S.C. § 1681c addresses the maximum
time that various accounts may be listed on a consumer credit report.

38. Organizations “the principal purpose of which is the collection of any debts,
or who regularly collects or attempts to collect, directly or indirectly, debts owed or
due or asserted to be owed or due another”, including law firms, must comply with
the FOCPA. FDCPA Section 803, 15 U.S.C. § 15 USC 1692a.

39. “A debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt.” This includes

the amount or character of the debt. FOCPA Section 807, 15 U.S.C. § 15 USC 1692f.

FIRST COUNT
Violation of Fair Debt Collection Practices Act
(Against Caine & Weiner Resource Management, LLC)
40. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein.
41. By engaging in the aforementioned behaviors, Defendant violated 15 U.S.C. § 1692d,
e(2), e(8) e(11), f(1), and g.
42. As a result of Defendant's violations, pursuant to 15 U.S.C. § 1692k, Plaintiff is
entitled to actual damages and $1000 in statutory damages, together with all costs and

attorney’s fees incurred in bringing this action.

SECOND COUNT

Willful Noncompliance with the FCRA
10

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2 Filed 04/04/22 Page 10 of 13

(Against All Parties)

43. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein.
44. The CRAs all willfully failed to comply with the requicements of FCRA, including but
not limited to:
a. failing to comply with the requirements of Section 605, 15 USC § 1681c(4), in
publishing a report with obsolete information.
b. failing to comply with the requirements of Section 607(b), 15 USC § 1681e(b),
in assuring consumer reports are prepared with maximum possible accuracy;
c. failing to comply with the requirements of Section 611, 15 USC § 16811, im
failing to conduct a reinvestigation of the disputed information;
45, Caine & Weiner Resource Management, LLC similarly willfully failed to comply with
the requirements of the FCRA, including but not limited to the requirements of Section 623:
Specifically, after receiving notice of Plaintiff's dispute Caine & Wemer Resource
Management, LLC failed to, inter alia,
a. review all relevant information and conduct a reasonable investigation into
Plainuff's dispute;
b. report the results of the investigation to the relevant consumer reporting
agency;
c. and modify, delete, or permanently block the reporting of the disputed

information which could not be, and was not, verified.

11

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW  Doc.1-2 Filed 04/04/22 Page 11of 13

46.  Asaresult of Defendants’ failure to comply with the requirements of FCRA, Plaintiff
has suffered, and continues to suffer, actual damages, including economic loss, lost
opportunity to receive credit, damage to reputation, interference with her normal and usual
activities, emotional distress, anger, frustration, humiliation, anxiety, fear, worry, and related
health problems, for which Plaintiff seeks damages in an amount to be determined by the
jury.

THIRD COUNT

Negligent Noncompliance with the FCRA
(Against the CRAs)

47. Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
though fully stated herein.
48. The CRAs negligently failed to comply with the requirements of the FCRA, including
but not limited to:
a. failing to comply with the requirements of Section 607(b), 15 USC § 1681e(b),
in assuring consumer reports ate prepared with maximum possible accuracy;
b. failing to comply with the requirements of Section 611, 15 USC § 16811, in
failing to conduct a reinvestigation of the disputed information;
c. failing to comply with the requirements of Section 605, 15 USC § 1681c(4), in
publishing a report with obsolete information.
49. Caine & Weiner Resource Management, LLC similarly negligently failed to comply
with the requirements of the FCRA, including but not limited to the requirements of Section

623. Specifically, after receiving notice of Plaintiffs dispute Caine & Weiner Resource

Management, LLC failed to, iter alia,:
12

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW  Doc.1-2_ Filed 04/04/22 Page12 of 13

a. review all relevant information and conduct a reasonable investigation into
Plaintiff's dispute;
b. report the results of the investigation to the relevant consumer reporting
agency;
c. and modify, delete, or permanently block the reporting of the disputed
information which could not be, and was not, verified.
50. Asa result of Defendants’ failure to comply with the requirements of FCRA, Plaintiff
has suffered, and continues to suffer, actual damages, including economic loss, lost
opportunity to receive credit, damage to reputation, invasion of privacy, interference with
normal and usual activities, emotional distress, anger, frustration, humiliation, anxiety, fear,
worry, and related health problems, for which Plaintiff and the class members seek damages

in an amount to be determmed by a jury.

Jury Demand
51. Plaintiff hereby demands a trial by jury.
Prayer for Relief
WHEREFORE, Plaintiff, by and through her attomey, respectfully prays for
Judgment to be entered in favor of Plaintiff and against Defendant as follows:
a. All actual compensatory damages suffered;

b. Statutory damages in an amount up to $1,000.00, pursuant to 15 U.S.C.

§1692k(@)(2)(A);

13

00770-GARIEPY
CASE 0:22-cv-00803-WMW-ECW Doc.1-2_ Filed 04/04/22 Page13 of 13

C. statutory damages in an amount up to $1,000.00 per violation per plaintiff,
pursuant to 15 U.S.C. §1681n;

d. Injunctive relief prohibiting such conduct in the future;

e. Reasonable attorney’s fees, litigation expenses, and cost of suit; and

f. Any other relief deemed appropriate by this Honorable Court.

Dated: February 17, 2022 MADGETT LAW

/s/David Mad
David Madgett (#0390494)

333 S 7th Street, Suite 2450
Minneapolis, MN 55402

(612) 470-5582
dmadgett@mnlegalassistance.com
ATTORNEY FOR PLAINTIFF

14

00770-GARIEPY
